Case 3:13-cv-02023-WQH-NLS Document 1-1 Filed 08/29/13 PageID.5 Page 1 of 27




                                                        EXHIBIT "A"
Case 3:13-cv-02023-WQH-NLS Document 1-1 Filed 08/29/13 PageID.6 Page 2 of 27




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Case 3:13-cv-02023-WQH-NLS Document 1-1 Filed 08/29/13 PageID.16 Page 12 of 27



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Case 3:13-cv-02023-WQH-NLS Document 1-1 Filed 08/29/13 PageID.17 Page 13 of 27



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